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 1   Leodis C. Matthews, Esq. SBN 109064
 2   ZHONG LUN LAW FIRM LLP
     leodismatthews@zhonglun.com
 3   4322 Wilshire Boulevard, Suite 200
 4   Los Angeles, California 90010-3792
     Tel. 323.930.5690
 5   Fax 323.930.5693
 6
     Attorneys for Defendant,
 7   JOHN THOMAS TERRENCE
 8

 9                       UNITED STATES DISTRICT COURT
10                      EASTERN DISTRICT OF CALIFORNIA
11

12   UNITED STATES OF AMERICA,             Case No. 1:15-cr-00179-LJO-SKO
13                 Plaintiff,
14        v.                               WAIVER OF DEFENDANT’S
                                           PRESENCE
15   BAHAR GHARIB-DANESH, D.C.
     aka BAHAR GHARIB
16   aka BAHAR DANESH
     aka BAHAR DANESH-GHARIB
17   aka BAHAR DANESH GHARIB
     NA YONG EOH, D.C., and
18   JOHN THOMAS TERRENCE, PsyD, Date: April 4, 2016
     Ph.D                        Time: 1:00 p.m.
19
                                 Ctrm: 3
                Defendant.
20
21

22
          TO THE ABOVE-CAPTIONED COURT AND TO ALL PARTIES AND
23

24   THEIR ATTORNEYS OF RECORD:

25        Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, Defendant
26
     JOHN THOMAS TERRENCE hereby waives the right to be present in person in
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28   open court upon the hearing of any motion or other proceeding in this case,

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 1   including, but not limited to, when the case is set for trial, when a continuance is
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     ordered, and when any other action is taken by the Court before or after trial, except
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 4   upon arraignment, plea, empanelment of the jury and imposition of sentence.

 5   Defendant hereby requests the Court to proceed during every absence of his which
 6
     the Court may permit pursuant to this waiver; agrees that his interests will be
 7

 8   deemed represented at all times by the presence of his attorney, the same as if
 9   defendant were personally present; and further agrees to be present in Court ready
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     for trial any day and hour the Court may fix in his absence. Mark McKeon,
11

12   Assistant United States Attorney, has confirmed he has no objections to this
13   request.
14
           Defendant further acknowledges that he has been informed of his rights
15

16   under Title 18 U.S.C. §§ 3161-3174 (Speedy Trial Act), and authorizes his attorney
17   to set times and delays under that Act without defendant being present.
18

19

20   Dated: March 30, 2016           __/s/ John T. Terrence__________
                                     John T. Terrence
21
                                     Original signature retained by attorney
22

23
     Date: March 30, 2016
24
                                     ZHONG LUN LAW FIRM LLP
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26
27
                               By:     /s/ Leodis C. Matthews
28                                   LEODIS C. MATTHEWS

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 1                                    Attorneys for Defendant
 2                                    JOHN THOMAS TERRENCE

 3
                                            ORDER
 4

 5            Defendant’s appearance is hereby waived for all proceedings permitted under
 6   Rule 43 of the Federal Rules of Criminal Procedure.
 7
     IT IS SO ORDERED.
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 9   Dated:     March 31, 2016                           /s/ Sheila K. Oberto
                                                 UNITED STATES MAGISTRATE JUDGE
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